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            EXHIBIT “A”
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      Court of Common Pleas of Philadelphia County                                               For Prothonotary Use Only (Docket Number)
                    Trial Division
                                                                             NOVEMBER 2023                                                   02215
                   Civil Cover Sheet                                        E-Filing Number:   2311044833
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 MITZIE CLARKE                                                                STADIUM CASINO RE, LLC, ALIAS: C/O CORPORATION
                                                                              SERVICE COMPANY
PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 22 HAWKINS COURT UNIT 1                                                      251 LITTLE FALLS DRIVE
 WATERBURY CT 06704                                                           WILMINGTON DE 19808


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS




PLAINTIFF'S NAME                                                            DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS




TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                  Petition Action                     Notice of Appeal
               1                                     1
                                                                          Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                 Arbitration                     Mass Tort                           Commerce                        Settlement
    $50,000.00 or less         X Jury                            Savings Action                      Minor Court Appeal              Minors
 X More than $50,000.00          Non-Jury                        Petition                            Statutory Appeals               W/D/Survival
                                 Other:
CASE TYPE AND CODE

  2S - PREMISES LIABILITY, SLIP/FALL

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                        IS CASE SUBJECT TO
                                                                                                                      COORDINATION ORDER?
                                                                                                                                  YES         NO


                                                                   NOV 21 2023
                                                                         C. SMITH

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: MITZIE CLARKE
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 MARC F. GREENFIELD                                                          TWO PENN CENTER PLAZA
                                                                             1500 JFK BOULEVARD
PHONE NUMBER                            FAX NUMBER                           SUITE 200
 (215)985-2424                          (215)545-6117                        PHILADELPHIA PA 19102

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 62081                                                                       efile@injuryline.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED
 MARC GREENFIELD                                                             Tuesday, November 21, 2023, 08:07 am

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
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SPEAR, GREENFIELD, RICHMAN, WEITZ & TAGGART P.C. Filed and Attested by the
BY: MARC F. GREENFIELD, ESQUIRE                                                                                                      Office of Judicial Records
I.D. NO.: 62081                                                                                                                                21 NOV 2023 08:07 am
Two Penn Center Plaza, Suite 200                                                                                                                              C. SMITH
1500 J.F.K. Boulevard
Philadelphia, PA 19102                                                                         MAJOR JURY
(215) 985-2424
________________________________________
MITZIE CLARKE                                                                               : Attorney for Plaintiff
22 Hawkins Court, Unit 1                                                                    :
Waterbury, CT 06704                                                                         : COURT OF COMMON PLEAS
                               v.                                                           : COUNTY OF PHILADELPHIA
                                                                                            : CIVIL TRIAL DIVISION
STADIUM CASINO RE, LLC d/b/a LIVE!
                                                                                            :
CASINO & HOTEL PHILADELPHIA                                                                 :
c/o Corporation Service Company                                                             :
251 Little Falls Drive                                                                      :
Wilmington, DE 19808                                                                        :
________________________________________ :
                                                                                            :
                                                        COMPLAINT IN PERSONAL               :                     INJURY
                                                                      2S PREMISES :LIABILITY
                                                                                            :
                                                                                            :
                                          NOTICE                                            :                                  ADVISO

                 You have been sued in court. If you wish to defend against the claims set  :                   Le han demandado a usted en la corte. Si usted quiere defenderse de estas
forth in the following pages, you must take action within twenty (20) days after this
complaint and notice are served, by entering a written appearance personally or by          : demandas     expuestas en las páginas siguientes, usted tiene veinte (20) dias, de plazo al
                                                                                              partir de la fecha de la demanda y la notificatión. Hace falta asentar una comparencia
attorney and filing in writing with the court your defenses or objections to the claims set
forth against you. You are warned that if you fail to do so the case may proceed without
                                                                                            : escrita o en persona o con un abogado y entregar a la corte en forma escrita sus defensas
                                                                                              o sus objeciones a las demandas en contra de su persona. Sea avisado que si usted no se
you and a judgment may be entered against you by the court without further notice for
any money claimed in the complaint or for any other claim or relief requested by the
                                                                                            : previo avisola corte
                                                                                              defiende,            tomará medidas y puede continuar la demanda en contra suya sin
                                                                                                              o notificacion. Además, la corte puede decidir a favor del demandante y
plaintiff. You may lose money or property or other rights important to you.                 : requiere  que usted cumpla con todas las provisiones de esta demanda. Usted puede perder
                                                                                              dinero o sus propiedades u otros derechos importantes para usted.
YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH
                                                                                            : LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI NO TIENE
BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT
HIRING A LAWYER.
                                                                                            : ABOGADO         O SI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO,
                                                                                              VAYA EN PERSONA O LLAME POR TELÉFONO A LA OFICINA CUYA
                                                                                             DIRECCIÓN SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR DONDE SE
IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE                               PUEDE CONSEGUIR ASISTENCIA LEGAL:
TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO                              ASSOCIACION DE LICENDIADOS DE
FEE                                                                                          FILADELFIA SERVICIO DE REFENCIA E INFORMACION LEGAL
                                                                                                        One Reading Center
PHILADELPHIA BAR ASSOCIATION                                                                            Filadelfia, Pennsylvania 19107
LAWYER REFERRAL and INFORMATION SERVICE                                                                 Teléfono: (215) 238-6333
          One Reading Center                                                                            TTY: (215) 451-6197
          Philadelphia, Pennsylvania 19107
          (215) 238-6333
          TTY: (215) 451-6197




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                             COMPLAINT IN PERSONAL INJURY
                                2S PREMISES LIABILITY

        1.      Plaintiff, Mitzie Clarke, is a citizen and resident of the State of Connecticut,

residing at the address listed in the caption of this Complaint.

        2.      Defendant, Stadium Casino RE, LLC d/b/a Live! Casino & Hotel Philadelphia, is

a business entity doing business in the Commonwealth of Pennsylvania with an address listed in

the caption of this complaint, and which at all times material hereto was the owner, operator,

maintainor, possessor, lessor, lessee and/or otherwise legally responsible for the care, control and

or safety of the premises located at or near 900 Packer Avenue, Philadelphia, PA 19148

(hereinafter referred to as “subject premises”).

        3.      At all times material hereto defendant, Stadium Casino RE, LLC d/b/a Live!

Casino & Hotel Philadelphia, was acting individually, jointly and/or by and through defendant’s

agents, servants, franchisees, workmen and/or employees for the maintenance, repair, care and

control of the subject premises.

        4.      On or about July 16, 2022, plaintiff, Mitzie Clarke, was an invitee, licensee and/or

otherwise legally on defendant’s premises, when, as a result of the negligence and/or

carelessness of the defendant, the plaintiff slipped and fell as the result of a wet floor surface

while entering the women’s lavatory of the subject premises.

        5.      As a result of this accident, the plaintiff suffered severe and permanent bodily

injury as more fully set forth at length below.

                                      COUNT I
    Mitzie Clarke v. Stadium Casino RE, LLC d/b/a Live! Casino & Hotel Philadelphia
                                    Personal Injury

        6.      Plaintiff incorporates herein the allegations set forth in the aforementioned

paragraphs, inclusive, as if set forth here at length.

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7.   The negligence and/or carelessness of defendant consisted of the following:

        a. Failure to properly design, construct, maintain, and/or repair the subject

            premises, floors, hallways, pathways, aisles and/or walkways over which

            invitees, licensees and/or others are likely to travel rendering the subject

            premises unsafe;

        b. Failure to properly monitor, test, inspect or clean the subject premises,

            floors, hallways, pathways, aisles and/or walkways to see if there were

            dangerous or defective conditions to those legally on the subject premises;

        c. Failure to provide sufficient warning as to the reasonably foreseeable

            defects and dangerous nature of the subject premises, floors, hallways,

            pathways, aisles and/or walkways to such invitees, licensees and/or others

            legally on the subject premises;

        d. Failure to barricade and/or block-off the defective and/or dangerous area of

            the subject premises, floors, hallways, pathways, aisles and/or walkways;

        e. Failure to reasonably inspect, maintain and/or otherwise exercise due and

            reasonable care under the circumstances in view of the foreseeable dangers,

            accidents and/or injuries that could occur as a result of the conditions on the

            subject premises, floors, hallways, pathways, aisles and/or walkways;

        f. Failure to comply with all building codes, county and city laws, ordinances

            and regulations pertaining to the design, construction, and maintenance of

            the aforementioned subject premises;

        g. Failing to exercise the proper care, custody and control over the aforesaid

            subject premises;



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                    h. Failure to inspect, maintain and/or repair known and/or unknown defects;

                        and,

                    i. Failing to prevent and/or remove a dangerous condition derived, originated

                        or had its source the aforesaid subject premises;

        8.      As a direct result of the negligent and/or careless conduct of defendant, the

plaintiff suffered various serious and permanent personal injuries, serious impairment of body

function and/or permanent serious disfigurement, and/or aggravation of pre-existing conditions,

including, but not limited to: partial tear of the supraspinatus of the left shoulder, C4-5, C5-6,

C6-7, cervical disc herniations with impingements, L5-S1 lumbar disc herniation, L4-5 lumbar

disc bulging, cervical sprain and strain, lumbar sprain and strain, left shoulder sprain and strain,

post traumatic headaches, and any other ills, injuries, all to plaintiff's great loss and detriment.

        9.      As a result of these injuries, all of which are to plaintiff's great financial detriment

and loss, plaintiff has in the past, is presently and may in the future suffer great pain, anguish,

sickness and agony and will continue to suffer for an indefinite time.

        10.     As an additional result of the carelessness and/or negligence of defendant,

plaintiff has suffered emotional injuries along with the physical injuries suffered.

        11.     As a further result of the injuries sustained, the plaintiff has, is presently, and may

in the future undergo a great loss of earnings and/or earning capacity, all to the further loss and

detriment of the plaintiff.

        12.     Furthermore, in addition to all the injuries and losses suffered, the plaintiff has

incurred or will incur medical, rehabilitative and other related expenses in the amount equal to

and/or in excess of any applicable health insurance coverage for which plaintiff has not been

reimbursed and upon which the plaintiff makes a claim for payment in the present action.



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       WHEREFORE, plaintiff demands judgment in plaintiff’s favor and against defendant in

an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus all reasonable costs and

any other relief the court deems necessary.

                                              SPEAR, GREENFIELD,
                                              RICHMAN, WEITZ & TAGGART P.C.


                                              ______________________________________
                                              BY: MARC F. GREENFIELD, ESQUIRE

INTERROGATORIES, REQUESTS FOR PRODUCTION OF DOCUMENTS, SUPPLEMENTAL
REQUESTS AND REQUEST FOR ADMISSIONS ARE SERVED ATTACHED TO PLAINTIFF’S
COMPLAINT AT THE TIME SERVICE OF ORIGINAL PROCESS IS AND/OR WAS
EFFECTUATED.
erh




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